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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 14-6316 PA (SHx)                                            Date    September 12, 2017
 Title             Chris “Wyatt” Hicks v. Progressive Cas. Ins. Co.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                           N/A
                 Deputy Clerk                             Court Reporter                        Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                   N/A
 Proceedings:                 IN CHAMBERS - ORDER

        To assist the Court in performing its gatekeeper function under Daubert, any party seeking to
offer expert testimony in its case-in-chief, shall file a written proffer of the expert’s opinions, with
citations to the expert witness disclosure for each such opinion. See Daubert v. Merrell Dow
Pharmaceuticals, Inc., 509 U.S. 579, 593-95, 113 S. Ct. 2786, 2796-97, 125 L. Ed. 2d 469, 482-84
(1993); see also Kumho Tire Co. v. Carmichael, 526 U.S. 137, 148, 119 S. Ct. 1167, 1174, 143 L. Ed. 2d
238, 250 (1999).

        The proffers shall state separately each opinion that the expert will give at trial and explain why
such testimony is relevant in this case. The proffers shall state the basis for each such opinion and shall
include an identification of each document by title, author and date relied on by the expert in forming the
opinion he or she will give at trial. Counsel shall attach a copy of each document to the offer of proof.
If an expert will be relying on the statements of any person for his opinion, the offer of proof shall
identify in full each such statement. If the statement is recorded or written, counsel shall attach a copy of
the statement to the offer of proof. If an expert did not rely on any documents or statements in forming
his opinion, the proffer shall include a representation confirming that fact.

        To avoid the unnecessary waste of paper, and to facilitate the Court’s review of the parties’
expert witness proffers, the parties may submit an electronic version of the exhibits submitted in support
of the expert’s proffers in lieu of a paper copy. A paper copy of the proffer itself shall still be submitted
to the Chambers Courtesy Box. The electronic version of the exhibits shall be supplied on either a flash
or thumb drive or a CD-Rom disc.

        The written proffer shall be filed no later than 12:00 p.m. on September 20, 2017. Counsel are
advised that the experts will not be permitted to offer any opinion at trial that was not set forth in the
proffers filed with the Court.

        In addition to the proffer, the parties shall file, by 12:00 p.m. on September 20, 2017, the
curriculum vitae of each expert witness, the expert designation identifying the expert, and a copy of any
written report prepared by the expert and disclosed to the other party. The failure to comply with this


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 14-6316 PA (SHx)                                        Date   September 12, 2017
 Title          Chris “Wyatt” Hicks v. Progressive Cas. Ins. Co.

order may result in the imposition of sanctions, which may include the exclusion of an expert witness’s
testimony if the required information is not provided by the deadline set by the Court.

         IT IS SO ORDERED.




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